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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


    In re:                                                             Chapter 11

    FRANCHISE GROUP, INC., et al.,1                                    Case No. 24-12480 (JTD)

             Debtors.                                                  (Jointly Administered)


                                   NOTICE OF APPEARANCE AND
                                 REQUEST FOR SERVICE OF PAPERS

             PLEASE TAKE NOTICE that the undersigned hereby enters their appearance in the

above-captioned cases as counsel for Arizona Nutritional Supplements (“ANS”) pursuant to

11 U.S.C. § 1109(b) and Rule 9010(b) of the Federal Rules of Bankruptcy Procedure

(the “Bankruptcy Rules”); and such counsel hereby request, pursuant to Bankruptcy Rules 2002,

3017 and 9007 and 11 U.S.C. §§ 342 and 1109(b), that further copies of all notices and pleadings

given or filed in the above-captioned cases be given to and served upon the following at the

addresses listed below:




1
  The Debtors in these Chapter 11 Cases, along with the last four digits of their U.S. federal tax identification numbers,
to the extent applicable, are Franchise Group, Inc. (1876), Freedom VCM Holdings, LLC (1225), Freedom VCM
Interco Holdings, Inc. (2436), Freedom Receivables II, LLC (4066), Freedom VCM Receivables, Inc. (0028),
Freedom VCM Interco, Inc. (3661), Freedom VCM, Inc. (3091), Franchise Group New Holdco, LLC (0444),
American Freight FFO, LLC (5743), Franchise Group Acquisition TM, LLC (3068), Franchise Group Intermediate
Holdco, LLC (1587), Franchise Group Intermediate L, LLC (9486), Franchise Group Newco Intermediate AF, LLC
(8288), American Freight Group, LLC (2066), American Freight Holdings, LLC (8271), American Freight, LLC
(5940), American Freight Management Company, LLC (1215), Franchise Group Intermediate S, LLC (5408),
Franchise Group Newco S, LLC (1814), American Freight Franchising, LLC (1353), Home & Appliance Outlet, LLC
(n/a), American Freight Outlet Stores, LLC (9573), American Freight Franchisor, LLC (2123), Franchise Group
Intermediate B, LLC (7836), Buddy's Newco, LLC (5404), Buddy’s Franchising and Licensing LLC (9968), Franchise
Group Intermediate V, LLC (5958), Franchise Group Newco V, LLC (9746), Franchise Group Intermediate BHF,
LLC (8260); Franchise Group Newco BHF, LLC (4123); Valor Acquisition, LLC (3490), Vitamin Shoppe Industries
LLC (3785), Vitamin Shoppe Global, LLC (1168), Vitamin Shoppe Mariner, LLC (6298), Vitamin Shoppe
Procurement Services, LLC (8021), Vitamin Shoppe Franchising, LLC (8271), Vitamin Shoppe Florida, LLC (6590),
Betancourt Sports Nutrition, LLC (0470), Franchise Group Intermediate PSP, LLC (5965), Franchise Group Newco
PSP, LLC (2323), PSP Midco, LLC (6507), Pet Supplies “Plus”, LLC (5852), PSP Group, LLC (5944), PSP Service
Newco, LLC (6414), WNW Franchising , LLC (9398), WNW Stores, LLC (n/a), PSP Stores, LLC (9049), PSP
Franchising, LLC (4978), PSP Subco, LLC (6489), PSP Distribution, LLC (5242), Franchise Group Intermediate SL,
LLC (2695), Franchise Group Newco SL, LLC (7697), and Educate, Inc. (5722). The Debtors’ headquarters is located
at 109 Innovation Court, Suite J, Delaware, Ohio 43015.
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                             GREENBERG TRAURIG, LLP
                             Anthony W. Clark (DE Bar No. 2051)
                             Dennis A. Meloro (DE Bar No. 4435)
                             222 Delaware Avenue
                             Suite 1600
                             Wilmington, DE 19801
                             Telephone: (302) 661-7000
                             Email: Anthony.Clark@gtlaw.com
                                    Dennis.Meloro@gtlaw.com

       PLEASE TAKE FURTHER NOTICE that pursuant to 11 U.S.C. § 1109(b), the

foregoing demand includes not only the notices and papers referred to in the above-mentioned

Bankruptcy Rules, but also includes, without limitation, all orders, applications, motions, petitions,

pleadings, requests, complaints or demands, whether formal or informal, written or oral,

transmitted or conveyed by mail delivery, telephone, facsimile or otherwise, in the above-

referenced cases and proceedings therein.

       PLEASE TAKE FURTHER NOTICE that neither this notice nor any later appearance,

pleading, claim, or suit is intended nor shall be deemed to waive (i) any right to have final orders

in non-core matters entered only after de novo review; (ii) any right to trial by jury in any

proceedings so triable herein or in any case, controversy or proceeding related hereto; (iii) any

right to have the reference withdrawn by the United States District Court in any matter subject to

mandatory or discretionary withdrawal; or (iv) other rights, claims, actions, defenses, setoffs or

recoupments to which ANS is or may be entitled under agreements, at law or in equity, all of which

rights, claims, actions, defenses, setoffs and recoupments expressly are hereby reserved.

 Dated: December 5, 2024                           GREENBERG TRAURIG, LLP

                                                    /s/ Dennis A. Meloro
                                                   Anthony W. Clark (DE Bar No. 2051)
                                                   Dennis A. Meloro (DE Bar No. 4435)
                                                   222 Delaware Avenue, Suite 1600
                                                   Wilmington, DE 19801
                                                   Telephone: (302) 661-7000
                                                   E-mail: Anthony.Clark@gtlaw.com
                                                              Dennis.Meloro@gtlaw.com

                                                   Counsel for Arizona Nutritional Supplements

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